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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:11CR3032
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
ADELFO JUNIOR SOTO,                             )
                                                )
                     Defendant.                 )



       IT IS ORDERED that:


       (1)    The defendant’s unopposed motion to continue sentencing (filing 91) is
granted.


       (2)    Defendant Soto’s sentencing is continued to Wednesday, March 7, 2012, at
12:30 p.m., before the undersigned United States district judge, 5 th Floor, Robert V. Denney
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.


       Dated December 5, 2011.


                                             BY THE COURT:

                                             Richard G. Kopf
                                             Senior United States District Judge
